      Case 3:99-cr-00264-VAB          Document 2421         Filed 12/23/14      Page 1 of 5




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA

               v.                                    CRIM NO: 3:99CR264(EBB)

JOHN FOSTER



                               RULING ON MOTION TO REOPEN

       Defendant John Foster (“Foster”) moves to reopen his criminal judgment and for

resentencing without application of the second offender enhancement. He claims he is “legally and

factually innocent” of the state-court narcotics conviction that supports his § 851 second offender

enhancement because it was unconstitutionally obtained. For the following reasons, Foster's

motion [doc. ##2402, 2414] is DENIED.

Factual and Procedural Background

       Prior to the start of Foster's 2000 trial, the government filed an information pursuant to 21

U.S.C. § 851 notifying him that, because of his prior Connecticut narcotics conviction under Conn.

Gen. Stat. § 21a-277(a), if he was convicted he could be subject to a statutory mandatory minimum

sentence of 20 years pursuant to 21 U.S.C. § 841(b)(1)(A). After a lengthy trial, a jury convicted

Foster of one count of conspiracy to possess with intent to distribute and distribution of 1000

grams or more of heroin, 50 grams or more of cocaine and 50 grams or more of cocaine base, in

violation of 21 U.S.C. § 841(a)(1) and 846. On June18, 2001, the district court sentenced Foster to

324 months incarceration. The second offender enhancement was not specifically at issue at his

sentencing because, under the then-mandatory sentencing guidelines, he faced a sentence that

greatly exceeded the 20 year mandatory minimum.
       Case 3:99-cr-00264-VAB           Document 2421         Filed 12/23/14      Page 2 of 5




        Foster's conviction was affirmed on appeal, but the Second Circuit issued a limited remand

pursuant to United States v. Booker, 543 U.S. 220 (2005) and United States v. Crosby, 397 F.3d

103 (2d Cir. 2005), directing the district court to determine whether it would have imposed a

materially different sentence under an advisory guideline regime. On remand, the district court

ruled that it would have imposed a materially different sentence if the guidelines had been

advisory, and scheduled a resentencing. Prior to the resentencing hearing, the government again

moved for an enhanced sentence pursuant to § 851. It argued that Foster was subject to the 20-year

mandatory minimum under § 841, rather than the 10-year mandatory minimum which applied to

defendants with no prior narcotics convictions.

        In response, Foster challenged the constitutional validity of the guilty plea he entered in the

Connecticut Superior Court in connection with the narcotics conviction cited in the § 851 notice.

He argued that the prior narcotics conviction was constitutionally invalid because it was based on a

guilty plea that was not intelligent and voluntary in that the state court did not properly ascertain

that he understood the nature of the charges against him and that there was an adequate factual

basis for his plea.

        At Foster's re-sentencing, the district court rejected his claims regarding the validity of his

predicate state conviction. It found that the transcript of his plea colloquy in the state court

affirmatively demonstrated that his plea was both intelligent and voluntary and, as reflected in the

state judge's canvas of Foster at the plea hearing, the nature of the charges and the elements of the

crime were adequately explained to him. Because the plea did not suffer from any infirmities, the

district court had sufficient assurance that Foster was given sufficient notice of the charges against

him, had been informed of the facts supporting the charges to which he was pleading guilty,


                                                   2
      Case 3:99-cr-00264-VAB             Document 2421         Filed 12/23/14      Page 3 of 5




including the nature and quantity of the narcotics, and that Foster had agreed with the prosecutor's

recitation of the facts. This was sufficient for the district court to conclude that Foster's guilty plea

was freely and voluntarily entered and thus it denied Foster's constitutional challenge to the validity

of his prior felony narcotics conviction as a proper predicate for the § 851 sentence enhancement.

Based on this finding, the district court resentenced Foster to a statutorily mandated 20-year term

of imprisonment on September 19, 2006.

          Foster appealed that sentence on the grounds that the district court erred in finding that the

prior state narcotics conviction was a proper predicate for the § 851 sentence enhancement. The

Second Circuit disagreed. It rejected all of Foster's arguments and held that there was no error in

the district court's conclusion that Foster's state-court plea was intelligent and voluntary and was

constitutionally valid. United States v. Foster, No. 06-4871-cr (2d Cir. Jan. 18, 2008) (summary

order).

Discussion

          Foster is seeking relief from his final criminal judgment of conviction, but he does not

identify any rule or other procedural vehicle that authorizes this Court to entertain his motion.

Rule 60(b), Fed. R. Civ. P. is unavailing because it only provides relief from civil judgments, not

criminal judgments. Rule 33, Fed. R. Crim. P. is also an inappropriate vehicle because his motion

was not filed within 7 days of the finding of guilt, as that rule requires. Moreover, the Court will

not convert his motion to one seeking habeas corpus relief pursuant to 28 U.S.C. § 2255 because it

was filed more than seven years after his conviction became final and Foster has not presented any

grounds for equitable tolling of the one-year statute of limitations for such actions. But even if it

were not time barred, his motion would not support the relief Foster seeks because the validity of


                                                     3
      Case 3:99-cr-00264-VAB           Document 2421         Filed 12/23/14       Page 4 of 5




his § 851 predicate state conviction was raised and decided on appeal after resentencing and thus

the law of the case doctrine precludes relitigation of the issue in this court. United States v.

Sanchez, 35 F.3d 673, 677 (2d Cir. 1994) (holding that when an issue is explicitly or implicitly

decided on appeal, the law of the case doctrine forecloses further consideration of it in the district

court); United States v. Sanin 252 F.3d 79, 83 (2d Cir. 2001). Moreover, even if Foster's claim

were properly before this Court, his motion would be denied as having no substantive merit.

        In that regard, Foster's assertion that he is actually innocent of his enhanced sentence as

grounds for resentencing in this criminal case is unavailing. It is based only on a legal argument,

specifically, that the predicate state conviction that supported his 20-year mandatory minimum

sentence pursuant to § 851 and § 841 was unconstitutional because it relied on his guilty plea to a

Connecticut narcotics offense that was not knowing and voluntary and did not have a sufficient

factual basis.

        Foster's assertion of actual innocence is unavailing because he merely claims he is actually

innocent of the second-offender enhancement. His claim is not based on any new factual evidence

showing that he did not commit the underlying crime of conviction. Williams v. United States,

117 F. App'x 132, 133 (2d Cir. 2004) (noting that actual innocence in a non-capital case means that

the defendant did not commit the crime). As such, Foster's claim is one of legal, as opposed to

factual, innocence. Poindexter v. Nash, 333 F.3d 372 (2d Cir. 2003) (holding that mis-

classification as a career offender is not equivalent to a claim of actual, factual innocence). As the

Supreme Court and the Second Circuit have made very clear, the actual innocence doctrine is very

narrow and is concerned with actual, factual innocence, not legal innocence. Sawyer v. Whitley,

505 U.S. 333, 339 (1992); Williams, 117 F. App'x at 133 (stating that claims of sentencing error


                                                   4
      Case 3:99-cr-00264-VAB          Document 2421        Filed 12/23/14     Page 5 of 5




may not serve as a basis for a factual innocence claim). Put another way, a claim of actual

innocence is unavailing where, as here, the defendant merely makes a legal argument that he is

innocent of a sentence enhancement. Darby v. United States, 508 F. App'x 69, 71 (2d Cir. 2013)

(holding that a claim of actual innocence does not apply where defendant merely makes a legal

argument, i.e., that he is innocent of a sentence enhancement).

                                          CONCLUSION

       For the foregoing reasons, Foster's motion [doc. ##2402, 2414] is DENIED.

       SO ORDERED.

                                           /s/________________________________________
                                              ELLEN BREE BURNS
                                              SENIOR UNITED STATES DISTRICT JUDGE

       Dated this 23rd day of December, 2014 at New Haven, Connecticut.




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